                           Case 4:15-cv-00116-RRE-ARS Document 96 Filed 05/10/18 Page 1 of 1



Local AO 450 (rev. 5/10)




                                              United States District Court
                                                       District of North Dakota

   Brad Lodholtz and Courtney Lodholtz,
                                                                               SECOND AMENDED
                    Plaintiffs,
                                                                             JUDGMENT IN A CIVIL CASE
   -vs-

   Continental Resources, Inc.,                                              Case No.       4:15-cv-116

                    Defendant.




      ✔ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has rendered its
              verdict.

              Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a decision has
              been rendered.

              Decision on Motion. This action came before the Court on motion. The issues have been considered and a decision rendered.

              Stipulation. This action came before the court on motion of the parties. The issues have been resolved.

              Dismissal. This action was voluntarily dismissed by Plaintiff pursuant to Fed. R. Civ. P. 41(a)(1)(ii).

IT IS ORDERED AND ADJUDGED:
Brad Lodholtz be awarded past economic damages in the amount of $395,850.00; future economic damages in
the amount of $2,682,500.00; past non-economic damages in the amount of $725,000.00 and future
non-economic damages in the amount of $725,000.00, for a total amount of $4,528,350.00, plus post-judgment
interest at the allowed statutory rate;

Courtney Lodholtz be awarded past damages in the amount of $362,500.00 and future damages in the amount
of $1,268,750.00 for a total amount of $1,631,250.00, plus post-judgment interest at the allowed statutory rate;

Pursuant to the Order filed on May 10, 2018, the plaintiffs’ motion for an award of costs is GRANTED in
PART and DENIED in PART. The Court will allow taxation of costs in the amount of $5,881.67.


      May 10, 2018
Date: __________________                                                      ROBERT J. ANSLEY, CLERK OF COURT

                                                                                 /s/ Jackie Stewart, Deputy Clerk
                                                                             by:________________________________
